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                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF LOUISIANA

ALEX A., et al.,

              Plaintiffs,

v.                                    Civil Action No. 3:22-cv-573-SDD-RLB

GOVERNOR JOHN BEL EDWARDS, et
al.,

              Defendants.



                            EXHIBIT 5
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